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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS

DALLAs DrvrsloN
UNITED sTATEs oF AMERICA
v- No. 3;17 CR 669 (L)
vALANDUs JAvoN GlBsoN

FACTUAL RESUME
In support of Valandus Javon Gibson’s plea of guilty to the offense in Count 8 of
the lndictment, Gibson, the defendant, Trey Bunch, the defendant’s attorney, and the
United States of America (the government) stipulate and agree to the following:
ELEMENTS OF THE OFFENSE
To prove the offense alleged in Count 8 of the Indictment, charging a violation of
18 U.S.C. § l956(a)(l)(B)(i) and (h), that is, Conspiracy to Launder Monetary

Instrurnents, the government must prove each of the following elements beyond a

reasonable doubt:l

Two or more persons agreed to violate l8 U.S.C. § l956(a)(l)(B)(i)
and (h);

Fz'rst.

a. That the defendant knowingly conducted a financial transaction
as charged in the Indictment;

b. That the financial transaction involved the proceeds of a specified
unlawful activity, namely wire fraud; and

c. That the defendant knew the property involved in the financial
transaction represented the proceeds of some form of unlawful

 

1 Fifth Circuit Pattern Jury Instruction 2.76A (Sth Cir. 2015).

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activity;

d. That the defendant intended to promote the carrying on of the
unspecified unlawful activity;

e. That the defendant knew that the transaction was designed in whole
or in part to conceal or disguise the nature, location, source,
ownership, or control of the proceeds of the specified unlawful
activity.

Second. That the defendant joined the conspiracy; and
Thz`rd. That the defendant had the intent that the conspiracy succeed.

STIPULATED FACTS

l. Valandus J avon Gibson admits and agrees that starting in or about April lO,
2013, and continuing through December 20, 2017 , within the Northern District of Texas,
Dallas Division, and elsewhere, he knowingly and willfully combined, conspired, and
agreed with John Lewis Davis, II, and others, to knowingly conduct and attempt to
conduct a financial transaction affecting interstate and foreign commerce, which involved
the proceeds of a specified unlawful activity, that is, wire fraud, in violation of l8 U.S.C.
§ 1343, knowing that the transaction was designed in whole or in part to conceal and
disguise the nature, location, source, ownership, and control of the proceeds of said
specified unlawful activity, and that while conducting and attempting to conduct such
financial transaction, knew that the property involved in the financial transaction
represented the proceeds of some form of unlawful activity, in violation of l8 U.S.C. §

1956(3)(1)(13)(1) and (h).

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2. Defendant, Valandus J avon Gibson (Gibson), during the relevant dates in
the Indictment, lived in the Dallas, Texas area.

3. During this time, Gibson became associated with co-conspirators in a
mystery shopper schemez, including John Lewis Davis, II, with whom Gibson lived with
for a time. Gibson, and others in the conspiracy, executed the scheme for the purpose of
unlawfully obtaining money for personal gain.

4. The scheme required each participant to undertake one or more roles to
further the success of the scheme.

5. The scheme required co-conspirators to obtain authentic U.S. Postal money
orders; financial information for bank accounts, including valid routing and account
numbers; photographs; and authentic driver’s licenses from the states of Tennessee,
Delaware, and elsewhere. This information was forwarded via email to co-conspirators
that live outside of the United States.

6. The scheme included co-conspirators, outside of the United States, using
the authentic money orders, driver’s licenses, and valid bank information, to create
counterfeit money orders, cashier’s checks, and driver’s licenses for Tennessee,

Delaware, and elsewhere.

 

2 Mystery Shopper seams are designed to obtain money from the bank accounts of unwitting victims who
believe that they are working to evaluate money transfer businesses to include MoneyGram, Western
Union, and WalmartZWalmart (RIA Financial). Mystery Shopper letters provide instructions for
unwitting victims to include: cashing an enclosed money order or check (which, unbeknownst to the
victim, is counterfeit), withdrawing the funds, keeping a small portion, and sending the remainder by
initiating a wire transfer to individual(s) specified on the letter. The scam is complete when the
unlawfully obtained money is wired to the individual(s) on the letter and the funds are retrieved.

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7. Co-conspirators from outside of the United States mailed the counterfeited
money orders and driver’s licenses to other co~conspirators in the United States. Co-
conspirators in the United States further mailed these items to other co-conspirators to
use to further the scheme.

8. Co-conspirators from outside of the United States emailed the names and
addresses of unwitting victims, along with counterfeited cashier’s checks, postage labels,
and mystery shopper letters, to co-conspirators in the United States.

9. Co-conspirators in the United States printed the mystery shopper letters,
counterfeit checks, and postage labels. Co-conspirators in the United States then used the
counterfeit postage labels to mail a priority package to unwitting victims that contained a
counterfeit check or money order and a mystery shopper letter.

lO. After the unwitting victims cashed the counterfeit check or money order
using their respective bank account, obtained the cash, and initiated the wire transfer, co-
conspirators in the United States used the counterfeit driver’s licenses to retrieve the
fraudulently obtained monies from MoneyGram, Western Union, and WalmartZWalmart.

l l. Co-conspirators in the United States then shared the unlawfully obtained
proceeds by further initiating wire transfers to other co~conspirators in the United States
and elsewhere, making deposits into co-conspirator’s bank accounts, and keeping a
portion for profit.

12. The defendant, Gibson, admits that he voluntarily participated in the

scheme. Gibson received multiple counterfeit driver’s licenses from his co~conspirators.

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On no fewer than six occasions he retrieved money from wire transfer businesses located
in the Dallas, Texas area that he knew was obtained from the fraud scheme.

13. At the time he retrieved this unlawfully obtained money, he knew that the
money was the proceeds of the fraud scheme. Defendant admits that the money he
obtained from the wire transfers was the direct result of financial transactions initiated by
unwitting victims who cashed counterfeit securities

14. Gibson also admits that on July 27, 2016; he was stopped by law
enforcement in Rowlett, TeXas. At the time of the traffic stop, Gibson was found in
possession of 82 counterfeited Tennessee driver’s licenses. Gibson subsequently pled
guilty to the possession of the counterfeit identifications i_n State Court. Gibson further
admits that he used these, and other counterfeited driver’s licenses, to aid him in avoiding
detection in the commission of the fraud scheme. Gibson also admits that his involvement
in the scheme was designed, and did in fact, assist in the success of the scheme.

15. Gibson now knows that during the course of the investigation of this case
Postal Inspectors verified, through surveillance Video captured at various money transfer
businesses, that Gibson used counterfeit Tennessee driver’s licenses containing his
picture to retrieve no less than $209,686.50 in monies that were the proceeds of the
scheme.

16 . Gibson agrees that he committed all the essential elements of the offense
for which he is pleading guilty. This factual resume is not intended to be a complete

accounting of all the facts and events related to the offense charged in this case. T he

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limited purpose of this statement of facts is to demonstrate that a factual basis exists to

support the Gibson’s guilty plea to Count 8 of the lndictment.

AGREED To AND sTIPULATED on this §§ day or 5§§ e§:§ § §§§~ , 2018.

DAVID JAFFE

ACTING CHIEIF

ORGANIZED CRIME & GANG SECTION
DEPARTMENT OF JUSTICE

 

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Defendant DAVID L. JARVIS
Attorneys for the United States
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TREY BUNCH

Attorney foeralandus J avon Gibson

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